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                           Exhibit D
    SYSTEMAX AND TIGERDIRECT’S PROPOSED
    CLAIM CONSTRUCTION AND SUPPORT FOR
         “SHOPPING CART COMPUTER”
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     Exhibit 2 – Defendants Systemax, Inc. and Tiger Direct, Inc.’s Preliminary Claim Construction Chart For Term “Shopping Cart
          Computer” As Used In U.S. Patent No. 5,715,314 (“the ‘314 Patent), and U.S. Patent No. 5,909,492 (“the ‘492 Patent”) 1

Claim Element(s)                   Defendants’ Construction          Support for Construction

Claim 34 and Its Dependent
Claims of The ‘314 Patent

34. A network-based sales          shopping cart computer -          “Second, it is not clear which other computer the Defendants are trying
system, comprising:                                                  to distinguish the ‘shopping cart computer’ from, when they say it must
at least one buyer computer for    a computer processing data        be ‘separate from a computer providing product descriptions to a user.’
operation by a user desiring to    associated with one or more       Does this mean the buyer computer (which displays descriptions to
buy products;                      shopping carts but is not
                                                                     users) or the merchant computer (which causes product descriptions to be
at least one shopping cart         operated by an operator of a
                                                                     sent to the user)? Because of this lack of clarity, the Defendants’
computer; and                      merchant computer
a shopping cart database                                             proposed construction would render the claims indefinite.” Soverain’s
connected to said shopping                                           Claim Construction Brief at 28-29, Nov. 16, 2004.
cart computer;
said buyer computer and said                                         “Story: ‘We are building a payment system for the Web. Our novel
shopping cart computer                                               approach works with today’s clients and doesn’t let the merchants see
being interconnected by a                                            the client’s payment credentials.’ ” See SVN2-0040037 of SVN2-
computer network; said buyer                                         0040037-42 (emphasis added).
computer being programmed
to receive a plurality of                                            “Abstract
requests from a user to add a
                                                                     A network-based sales system includes at least one buyer computer for
plurality of respective products
                                                                     operation by a user desiring to buy a product, at least one merchant
to a shopping cart in said
shopping cart database, and,                                         computer, and at least one payment computer. The buyer computer, the
in response to said requests to                                      merchant computer, and the payment computer are interconnected by a
add said products, to send a                                         computer network. The buyer computer is programmed to receive a user
plurality of respective                                              request for purchasing a product, and to cause a payment message to be


1
 Nothing in this Defendants’ Preliminary Claim Construction Chart should cause a waiver of Defendants’ invalidity defenses under 35 U.S.C.
§112. Defendants expressly preserve their rights to continue to pursue their invalidity defenses under 35 U.S.C. §112 subsequent to the Court’s
Claim Construction.


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Claim Element(s)                    Defendants’ Construction   Support for Construction

shopping cart messages to said                                 sent to the payment computer that comprises a product identifier
shopping cart computer each                                    identifying the product. The payment computer is programmed to
of which comprises a product                                   receive the payment message, to cause an access message to be
identifier identifying one of                                  created that comprises the product identifier and an access message
said plurality of products; said
                                                               authenticator based on a cryptographic key, and to cause the access
shopping cart computer
                                                               message to be sent to the merchant computer. The merchant computer
being programmed to receive
said plurality of shopping cart                                is programmed to receive the access message, to verify the access
messages,                                                      message authenticator to ensure that the access message authenticator
to modify said shopping cart in                                was created using the cryptographic key, and to cause the product to be
said shopping cart database to                                 sent to the user desiring to buy the product.” (emphasis added.)
reflect said plurality of
requests to add said plurality                                 “U.S. patent application Ser. No. 08/168,519, filed Dec. 16, 1993 by David K.
of products to said shopping                                   Gifford and entitled "Digital Active Advertising," the entire disclosure of which
cart, and to cause a payment                                   is hereby incorporated herein in its entirety by reference, now abandoned,
message associated with said                                   describes a network sales system that includes a plurality of buyer computers, a
shopping cart to be created;                                   plurality of merchant computers, and a payment computer. A user at a buyer
and                                                            computer asks to have advertisements displayed, and the buyer computer
said buyer computer being                                      requests advertisements from a merchant computer, which sends the
programmed to receive a                                        advertisements to the buyer computer. The user then requests purchase of
request from said user to                                      an advertised product, and the buyer computer sends a purchase message
purchase said plurality of                                     to the merchant computer. The merchant computer constructs a payment
products added to said                                         order that it sends to the payment computer, which authorizes the
shopping cart and to cause said                                purchase and sends an authorization message to the merchant computer.
payment message to be                                          When the merchant computer receives the authorization message it sends
activated to initiate a payment                                the product to the buyer computer.
transaction for said plurality of
products added to said                                         The above-mentioned patent application also describes an alternative
shopping cart;                                                 implementation of the network sales system in which, when the user
said shopping cart being a                                     requests purchase of an advertised product, the buyer computer sends a
stored representation of a                                     payment order directly to the payment computer, which sends an
collection of products, said                                   authorization message back to the buyer computer that includes an
shopping cart database being a                                 unforgeable certificate that the payment order is valid. The buyer computer then
                                                               constructs a purchase message that includes the unforgeable certificate and


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Claim Element(s)                  Defendants’ Construction   Support for Construction

database of stored                                           sends it to the merchant computer. When the merchant computer receives the
representations of collections                               purchase request it sends the product to the buyer computer, based upon the
of products, and said shopping                               pre-authorized payment order.” 1:18-47 (emphasis added.)
cart computer being a
computer that modifies said                                  “The invention provides a simple design architecture for the network sales
stored representations of                                    system that allows the merchant computer to respond to payment orders
collections of products in said                              from the buyer computer without the merchant computer having to
database.                                                    communicate directly with the payment computer to ensure that the user is
                                                             authorized to purchase the product and without the merchant computer
                                                             having to store information in a database regarding which buyers are
                                                             authorized to purchase which products. Rather, when the merchant computer
                                                             receives an access message from the buyer computer identifying a product to be
                                                             purchased, the merchant computer need only check the access message to
                                                             ensure that it was created by the payment computer (thereby establishing for the
                                                             merchant computer that the buyer is authorized to purchase the product), and
                                                             then the merchant computer can cause the product to be sent to the buyer
                                                             computer who has been authorized to purchase the product.” 2: 3-18 (emphasis
                                                             added.)

                                                             “Brief Description of the Drawings
                                                             FIG. 1 is a block diagram of a network sales system in accordance with the
                                                             present invention.
                                                             FIG. 2 (2-A through 2-I) is a flowchart diagram illustrating the operation of a
                                                             purchase transaction in the network sales system of FIG. 1.
                                                             FIG. 3 (3-A through 3-B) is a flowchart diagram illustrating the use of a
                                                             shopping cart for the purchase of products in connection with the network
                                                             sales system of FIG. 1.
                                                             FIG. 4 (4-A through 4-C) is a flowchart diagram illustrating the operation of a
                                                             smart statement in the network sales system of FIG. 1.” 3:58-4:3 (emphasis
                                                             added.)

                                                             “The payment URL authenticator is a hash of other information in the payment
                                                             URL, the hash being defined by a key shared by the merchant and the



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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           operator of the payment computer.”5: 45-47 (emphasis added.)

                                                           “Payment computer 16 has access to a settlement database 22 in which payment
                                                           computer 16 can record details of purchase transactions. The products may be
                                                           organized into various ‘domains’ of products, and payment computer 16 can
                                                           access settlement database 22 to record and retrieve records of purchases of
                                                           products falling within the various domains. Payment computer 16 also has
                                                           access to a shopping cart database 21 in which a ‘shopping cart’ of
                                                           products that a user wishes to purchase can be maintained as the user shops
                                                           prior to actual purchase of the contents of the shopping cart.” 5:5-15 (emphasis
                                                           added.)

                                                           “The user browses through the advertising document and eventually requests a
                                                           product (step 32). This results in the buyer computer sending payment URL A
                                                           to the payment computer (step 34). Payment URL A includes … a merchant
                                                           computer identifier that represents merchant computer 14, a merchant
                                                           account identifier that represents the particular merchant account to be credited
                                                           with the payment amount, …. The payment URL authenticator is a hash of
                                                           other information in the payment URL, the hash being defined by a key shared
                                                           by the merchant and the operator of the payment computer.” 5: 26-47
                                                           (emphasis added.)

                                                           “In an alternative embodiment, step 34 consists of the buyer computer sending a
                                                           purchase product message to the merchant computer, and the merchant
                                                           computer provides payment VRL[URL] A to the buyer computer in response to
                                                           the purchase product message. In this alternative embodiment, payment URL A
                                                           contains the same contents as above. The buyer computer then sends the
                                                           payment URL A it has received from the merchant computer to the payment
                                                           computer.” 5: 48-56 (emphasis added.)

                                                           “… the payment computer creates an access URL (step 80) that includes a
                                                           merchant computer identifier ….” 7:19-20 (emphasis added.)




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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                            “The payment computer then sends a redirect to access URL to the buyer
                                                           computer (step 90), which sends the access URL to the merchant computer
                                                           (step 92).” 7: 31-33 (emphasis added.)

                                                           “With reference now to FIG. 3, when the merchant computer sends the
                                                           advertising document to the buyer computer, the user may request that a
                                                           product be added to a shopping cart in the shopping cart database rather than
                                                           request that the product be purchased immediately. The buyer computer sends a
                                                           shopping cart URL to the payment computer (step 108), the shopping cart
                                                           URL including … a merchant computer identifier …” 7: 55- 8:2 (emphasis
                                                           added.)

                                                           “The user then either requests more advertisements (step 24 in FIG. 2) [user
                                                           requests advertisements from the merchant computer] and possibly adds another
                                                           product to the shopping cart, requests display of the shopping cart (step 116), or
                                                           requests purchase of the entire contents of the shopping cart (step 124). If the
                                                           user requests display of the shopping cart (step 116), the buyer computer
                                                           sends a fetch shopping cart request to the payment computer (step 118),
                                                           and the payment computer and buyer computer (step 119) perform steps
                                                           analogous to steps 64-81. The payment computer returns the contents of the
                                                           shopping cart to the buyer computer (step 120), which displays the contents
                                                           of the shopping cart (step 122). If the user requests that the entire contents of
                                                           the shopping cart be purchased (step 124) the buyer computer causes the
                                                           payment URL for the shopping cart to be activated (step 126) …” 8: 14-28
                                                           (emphasis added.)

                                                           “ … the payment URL is processed in a manner analogous to the processing
                                                           of payment URLs for individual products (beginning with step 36 in FIG. 2)”
                                                           8: 28-32 (emphasis added.)

                                                           “Merchant Account
                                                           Each merchant has an entry in the principal table in the payment
                                                           database. …This information is revealed to customers in the appropriate



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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           setting. …
                                                           The secretkey table
                                                           … Three parties need to know a merchant’s keys. The merchant must
                                                           know, in order to sign payment URLs. The payment system must know,
                                                           in order to validate payment URLs and to sign access URLs, and the
                                                           merchant server must know, in order to validate access URLs. (n,b,
                                                           There is no particular reason to use the same keys for payment and
                                                           for access. …
                                                           The merchantserver table
                                                           In an environment where there are multiple merchant servers, the
                                                           merchant server table tells the payment system which servers are hosting
                                                           a particular merchant. …
                                                           In order for the payment system to work, the following steps must be
                                                           accomplished:
                                                                Create principal account for merchant
                                                                Create keys for merchant
                                                                Load merchant server with merchant keys
                                                                Use merchant’s keys to generate payment URLs” App. E of the
                                                            ‘314 Patent, SOV 000146-148 (emphasis added.)

                                                           “85. A network-based sales system in accordance with claim 34, further
                                                           comprising:
                                                           a merchant computer that is interconnected with the buyer and
                                                           shopping cart computers by the computer network; and
                                                           an advertising document database;
                                                           wherein the merchant computer is programmed to fetch an
                                                           advertising document from the advertising document database;
                                                           wherein the advertising document database is local to the merchant
                                                           computer.” US 5,715,314 C1 at 3:43-53 (emphasis added.)

                                                           “OM Vision,” See SOV1627 of SOV1624-36


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Claim Element(s)                Defendants’ Construction   Support for Construction


                                                           ”The basic idea is to have-pay-per-page links in the merchant’s database that
                                                           point to our payment system and encode payment details (these are called
                                                           payment URLs). Our payment system processes the payment order, and
                                                           returns an HTTP redirect to deflect the client to the real URL on the
                                                           merchant’s server. The redirect URL is called the access URL. The effect for
                                                           the user is a seamless link from one merchant page to another merchant page.”
                                                           See SOV1721 of SOV1719-39 (emphasis added.)

                                                           “ To be successful in creating an electronic marketplace the payment
                                                           system must address the following needs
                                                           -It must be designed to work in open and untrusted networks. Currently
                                                           systems require a prior relationship between the merchant and the
                                                           prospective customer. To establish a broad market the payment system
                                                           must enable any user to freely choose any merchant in the same way as
                                                           he or she would shop in a traditional marketplace. The cost of
                                                           establishing a buyer’s payment credentials must be reduced
                                                           sufficiently to permit individual transactions between unaffiliated
                                                           parties to occur efficiently. … Open market’s payment system is the
                                                           only existing system hat meets all these requirements. The architecture
                                                           permits unaffiliated merchants to accept payment from any buyer
                                                           using any means of payment that is acceptable to both parties.” See
                                                           SOV1749-1750 of SOV1740-86 (emphasis added.)

                                                           “no direct communication … p.a. … merchant talks with payment …
                                                           a necessitated special connections between … clearly partitioning
                                                           problem … allows us to use existing widely available software …” See
                                                           SOV1835 of SOV1835-39 (emphasis added.)

                                                           “2. How do orders get placed at the merchant in a reliable way:
                                                           Right now, “hard goods” which require orders to be transmitted to



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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           the merchant are handled by the shopping cart mechanism. When a
                                                           shopping cart is purchased, a database field associated with the cart
                                                           transitions from state o to state 1, which means the total amount has been
                                                           recorded in the payment system. Some as yet unnamed mechanism is
                                                           supposed to move the field from state 1 to state 2 (order entered)
                                                           when the order has made it to the merchant.” See SOV1848 of
                                                           SOV1848-1849 and SOV39754 of SVN2-0039753-55
                                                           (emphasis added.)

                                                           See also “Payment System Componets,” SVN2-0039770-76.

35. A network-based sales       See above                  See above
system in accordance with
claim 34, wherein said
shopping cart computer is
programmed to cause said
payment message to be created
before said buyer computer
causes said payment message
to be activated before said
buyer computer causes said
payment message to be
activated.

49. A network-based sales       See above                  See above
system in accordance with
claim 34, wherein the buyer
computer activates the
payment message by
transmitting a message to the
shopping cart computer that
causes the payment message to
be activated.



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Claim Element(s)                Defendants’ Construction   Support for Construction

74. A network-based sales       See above                  See above
system in accordance with
claim 34, wherein the buyer
computer activates the
payment message by
transmitting a message to
the shopping cart
computer that causes the
payment message to be
activated; wherein the
shopping cart computer
transmits a payment
confirmation document to
the buyer computer.

84. A network-based sales    See above                     See above
system in accordance with
claim 34, wherein the
shopping cart computer, in
response to the plurality of
shopping cart messages,
causes an account name and
password request message
to be transmitted to the
buyer computer.

Claim 39 and Its Dependent
Claims of The ‘314 Patent

39. A method of operating a     shopping cart computer -   “Second, it is not clear which other computer the Defendants are trying
shopping cart computer in a                                to distinguish the ‘shopping cart computer’ from, when they say it must



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Claim Element(s)                Defendants’ Construction       Support for Construction

computer network                a computer processing data     be ‘separate from a computer providing product descriptions to a user.’
comprising at least one         associated with one or more    Does this mean the buyer computer (which displays descriptions to
buyer computer for              shopping carts but is not      users) or the merchant computer (which causes product descriptions to be
operation by a user desiring    operated by an operator of a   sent to the user)? Because of this lack of clarity, the Defendants’
to buy products, at least one   merchant computer              proposed construction would render the claims indefinite.” Soverain’s
shopping cart computer,                                        Claim Construction Brief at 28-29, Nov. 16, 2004.
and a shopping cart database
connected to said shopping                                     “Story: ‘We are building a payment system for the Web. Our novel
cart computer, said method                                     approach works with today’s clients and doesn’t let the merchants see
comprising the steps of:                                       the client’s payment credentials.’ ” See SVN2-0040037 of SVN2-
receiving, at said shopping                                    0040037-42 (emphasis added).
cart computer, a plurality
of shopping cart messages                                      “Abstract
sent to said shopping cart                                     A network-based sales system includes at least one buyer computer for
computer by said buyer                                         operation by a user desiring to buy a product, at least one merchant
computer in response to                                        computer, and at least one payment computer. The buyer computer, the
receipt of a plurality of                                      merchant computer, and the payment computer are interconnected by a
requests from a user to add a                                  computer network. The buyer computer is programmed to receive a user
plurality of respective                                        request for purchasing a product, and to cause a payment message to be
products to a shopping cart                                    sent to the payment computer that comprises a product identifier
in said shopping cart                                          identifying the product. The payment computer is programmed to
database, each of said                                         receive the payment message, to cause an access message to be
shopping cart messages                                         created that comprises the product identifier and an access message
comprising a product                                           authenticator based on a cryptographic key, and to cause the access
identifier identifying one of                                  message to be sent to the merchant computer. The merchant computer
said plurality of products;                                    is programmed to receive the access message, to verify the access
modifying said shopping                                        message authenticator to ensure that the access message authenticator
cart in said shopping cart                                     was created using the cryptographic key, and to cause the product to be
database to reflect said                                       sent to the user desiring to buy the product.” (emphasis added.)
plurality of requests to add
said plurality of products to                                  “U.S. patent application Ser. No. 08/168,519, filed Dec. 16, 1993 by David K.



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Claim Element(s)                Defendants’ Construction   Support for Construction

said shopping cart; and                                    Gifford and entitled "Digital Active Advertising," the entire disclosure of which
causing a payment message                                  is hereby incorporated herein in its entirety by reference, now abandoned,
associated with said                                       describes a network sales system that includes a plurality of buyer computers, a
shopping cart to be created;                               plurality of merchant computers, and a payment computer. A user at a buyer
said buyer computer being                                  computer asks to have advertisements displayed, and the buyer computer
                                                           requests advertisements from a merchant computer, which sends the
programmed to receive a
                                                           advertisements to the buyer computer. The user then requests purchase of
request from said user to                                  an advertised product, and the buyer computer sends a purchase message
purchase said plurality of                                 to the merchant computer. The merchant computer constructs a payment
products added to said                                     order that it sends to the payment computer, which authorizes the
shopping cart and to cause                                 purchase and sends an authorization message to the merchant computer.
said payment message to be                                 When the merchant computer receives the authorization message it sends
activated to initiate a                                    the product to the buyer computer.
payment transaction for said
plurality of products added                                The above-mentioned patent application also describes an alternative
to said shopping cart;                                     implementation of the network sales system in which, when the user
said shopping cart being a                                 requests purchase of an advertised product, the buyer computer sends a
                                                           payment order directly to the payment computer, which sends an
stored representation of a
                                                           authorization message back to the buyer computer that includes an
collection of products, said                               unforgeable certificate that the payment order is valid. The buyer computer then
shopping cart database                                     constructs a purchase message that includes the unforgeable certificate and
being a database of stored                                 sends it to the merchant computer. When the merchant computer receives the
representations of                                         purchase request it sends the product to the buyer computer, based upon the
collections of products, and                               pre-authorized payment order.” 1:18-47 (emphasis added.)
said shopping cart
computer being a computer                                  “The invention provides a simple design architecture for the network sales
that modifies said stored                                  system that allows the merchant computer to respond to payment orders
representations of                                         from the buyer computer without the merchant computer having to
collections of products in                                 communicate directly with the payment computer to ensure that the user is
                                                           authorized to purchase the product and without the merchant computer
said database.
                                                           having to store information in a database regarding which buyers are
                                                           authorized to purchase which products. Rather, when the merchant computer
                                                           receives an access message from the buyer computer identifying a product to be
                                                           purchased, the merchant computer need only check the access message to


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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           ensure that it was created by the payment computer (thereby establishing for the
                                                           merchant computer that the buyer is authorized to purchase the product), and
                                                           then the merchant computer can cause the product to be sent to the buyer
                                                           computer who has been authorized to purchase the product.” 2: 3-18 (emphasis
                                                           added.)

                                                           “Brief Description of the Drawings
                                                           FIG. 1 is a block diagram of a network sales system in accordance with the
                                                           present invention.
                                                           FIG. 2 (2-A through 2-I) is a flowchart diagram illustrating the operation of a
                                                           purchase transaction in the network sales system of FIG. 1.
                                                           FIG. 3 (3-A through 3-B) is a flowchart diagram illustrating the use of a
                                                           shopping cart for the purchase of products in connection with the network
                                                           sales system of FIG. 1.
                                                           FIG. 4 (4-A through 4-C) is a flowchart diagram illustrating the operation of a
                                                           smart statement in the network sales system of FIG. 1.” 3:58-4:3 (emphasis
                                                           added.)

                                                           “The payment URL authenticator is a hash of other information in the payment
                                                           URL, the hash being defined by a key shared by the merchant and the
                                                           operator of the payment computer.”5: 45-47 (emphasis added.)

                                                           “Payment computer 16 has access to a settlement database 22 in which payment
                                                           computer 16 can record details of purchase transactions. The products may be
                                                           organized into various ‘domains’ of products, and payment computer 16 can
                                                           access settlement database 22 to record and retrieve records of purchases of
                                                           products falling within the various domains. Payment computer 16 also has
                                                           access to a shopping cart database 21 in which a ‘shopping cart’ of
                                                           products that a user wishes to purchase can be maintained as the user shops
                                                           prior to actual purchase of the contents of the shopping cart.” 5:5-15 (emphasis
                                                           added.)

                                                           “The user browses through the advertising document and eventually requests a




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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           product (step 32). This results in the buyer computer sending payment URL A
                                                           to the payment computer (step 34). Payment URL A includes … a merchant
                                                           computer identifier that represents merchant computer 14, a merchant
                                                           account identifier that represents the particular merchant account to be credited
                                                           with the payment amount, …. The payment URL authenticator is a hash of
                                                           other information in the payment URL, the hash being defined by a key shared
                                                           by the merchant and the operator of the payment computer.” 5: 26-47
                                                           (emphasis added.)

                                                           “In an alternative embodiment, step 34 consists of the buyer computer sending a
                                                           purchase product message to the merchant computer, and the merchant
                                                           computer provides payment VRL[URL] A to the buyer computer in response to
                                                           the purchase product message. In this alternative embodiment, payment URL A
                                                           contains the same contents as above. The buyer computer then sends the
                                                           payment URL A it has received from the merchant computer to the payment
                                                           computer.” 5: 48-56 (emphasis added.)

                                                           “… the payment computer creates an access URL (step 80) that includes a
                                                           merchant computer identifier ….” 7:19-20 (emphasis added.)

                                                            “The payment computer then sends a redirect to access URL to the buyer
                                                           computer (step 90), which sends the access URL to the merchant computer
                                                           (step 92).” 7: 31-33 (emphasis added.)

                                                           “With reference now to FIG. 3, when the merchant computer sends the
                                                           advertising document to the buyer computer, the user may request that a
                                                           product be added to a shopping cart in the shopping cart database rather than
                                                           request that the product be purchased immediately. The buyer computer sends a
                                                           shopping cart URL to the payment computer (step 108), the shopping cart
                                                           URL including … a merchant computer identifier …” 7: 55- 8:2 (emphasis
                                                           added.)

                                                           “The user then either requests more advertisements (step 24 in FIG. 2) [user
                                                           requests advertisements from the merchant computer] and possibly adds another


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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           product to the shopping cart, requests display of the shopping cart (step 116), or
                                                           requests purchase of the entire contents of the shopping cart (step 124). If the
                                                           user requests display of the shopping cart (step 116), the buyer computer
                                                           sends a fetch shopping cart request to the payment computer (step 118),
                                                           and the payment computer and buyer computer (step 119) perform steps
                                                           analogous to steps 64-81. The payment computer returns the contents of the
                                                           shopping cart to the buyer computer (step 120), which displays the contents
                                                           of the shopping cart (step 122). If the user requests that the entire contents of
                                                           the shopping cart be purchased (step 124) the buyer computer causes the
                                                           payment URL for the shopping cart to be activated (step 126) …” 8: 14-28
                                                           (emphasis added.)

                                                           “ … the payment URL is processed in a manner analogous to the processing
                                                           of payment URLs for individual products (beginning with step 36 in FIG. 2)”
                                                           8: 28-32 (emphasis added.)

                                                           “Merchant Account
                                                           Each merchant has an entry in the principal table in the payment
                                                           database. …This information is revealed to customers in the appropriate
                                                           setting. …
                                                           The secretkey table
                                                           … Three parties need to know a merchant’s keys. The merchant must
                                                           know, in order to sign payment URLs. The payment system must know,
                                                           in order to validate payment URLs and to sign access URLs, and the
                                                           merchant server must know, in order to validate access URLs. (n,b,
                                                           There is no particular reason to use the same keys for payment and
                                                           for access. …
                                                           The merchantserver table
                                                           In an environment where there are multiple merchant servers, the
                                                           merchant server table tells the payment system which servers are hosting
                                                           a particular merchant. …
                                                           In order for the payment system to work, the following steps must be



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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           accomplished:
                                                                Create principal account for merchant
                                                                Create keys for merchant
                                                                Load merchant server with merchant keys
                                                                Use merchant’s keys to generate payment URLs” App. E of the
                                                            ‘314 Patent, SOV 000146-148 (emphasis added.)

                                                           “85. A network-based sales system in accordance with claim 34, further
                                                           comprising:
                                                           a merchant computer that is interconnected with the buyer and
                                                           shopping cart computers by the computer network; and
                                                           an advertising document database;
                                                           wherein the merchant computer is programmed to fetch an
                                                           advertising document from the advertising document database;
                                                           wherein the advertising document database is local to the merchant
                                                           computer.” US 5,715,314 C1 at 3:43-53 (emphasis added.)

                                                           “OM Vision,” See SOV1627 of SOV1624-36

                                                           ”The basic idea is to have-pay-per-page links in the merchant’s database that
                                                           point to our payment system and encode payment details (these are called
                                                           payment URLs). Our payment system processes the payment order, and
                                                           returns an HTTP redirect to deflect the client to the real URL on the
                                                           merchant’s server. The redirect URL is called the access URL. The effect for
                                                           the user is a seamless link from one merchant page to another merchant page.”
                                                           See SOV1721 of SOV1719-39 (emphasis added.)

                                                           “ To be successful in creating an electronic marketplace the payment
                                                           system must address the following needs
                                                           -It must be designed to work in open and untrusted networks. Currently
                                                           systems require a prior relationship between the merchant and the



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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           prospective customer. To establish a broad market the payment system
                                                           must enable any user to freely choose any merchant in the same way as
                                                           he or she would shop in a traditional marketplace. The cost of
                                                           establishing a buyer’s payment credentials must be reduced
                                                           sufficiently to permit individual transactions between unaffiliated
                                                           parties to occur efficiently. … Open market’s payment system is the
                                                           only existing system hat meets all these requirements. The architecture
                                                           permits unaffiliated merchants to accept payment from any buyer
                                                           using any means of payment that is acceptable to both parties.” See
                                                           SOV1749-1750 of SOV1740-86 (emphasis added.)

                                                           “no direct communication … p.a. … merchant talks with payment …
                                                           a necessitated special connections between … clearly partitioning
                                                           problem … allows us to use existing widely available software …” See
                                                           SOV1835 of SOV1835-39 (emphasis added.)

                                                           “2. How do orders get placed at the merchant in a reliable way:
                                                           Right now, “hard goods” which require orders to be transmitted to
                                                           the merchant are handled by the shopping cart mechanism. When a
                                                           shopping cart is purchased, a database field associated with the cart
                                                           transitions from state o to state 1, which means the total amount has been
                                                           recorded in the payment system. Some as yet unnamed mechanism is
                                                           supposed to move the field from state 1 to state 2 (order entered)
                                                           when the order has made it to the merchant.” See SOV1848 of
                                                           SOV1848-1849 and SOV39754 of SVN2-0039753-55
                                                           (emphasis added.)

                                                           See also “Payment System Componets,” SVN2-0039770-76.

109. The method of claim        See above                  See above
39, wherein the buyer



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Claim Element(s)                Defendants’ Construction   Support for Construction

computer activates the
payment message by
transmitting a message to
the shopping cart
computer that causes the
payment message to be
activated.

134. The method of claim        See above                  See above
39, wherein the buyer
computer activates the
payment message by
transmitting a message to
the shopping cart
computer that causes the
payment message to be
activated; wherein the
shopping cart computer
transmits a payment
confirmation document to
the buyer computer.

144. The method of claim        See above                  See above
39, wherein the shopping
cart computer, in response
to the plurality of shopping
cart messages, causes an
account name and password
request message to be
transmitted to the buyer
computer.



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Claim Element(s)                Defendants’ Construction       Support for Construction




Claim 17 of The ‘492 Patent

17. A network-based sales       shopping cart computer -       “Second, it is not clear which other computer the Defendants are trying
system, comprising:                                            to distinguish the ‘shopping cart computer’ from, when they say it must
at least one buyer computer     a computer processing data     be ‘separate from a computer providing product descriptions to a user.’
for operation by a user         associated with one or more    Does this mean the buyer computer (which displays descriptions to
                                shopping carts but is not
desiring to buy products;                                      users) or the merchant computer (which causes product descriptions to be
                                operated by an operator of a
at least one shopping cart                                     sent to the user)? Because of this lack of clarity, the Defendants’
                                merchant computer
computer; and a shopping                                       proposed construction would render the claims indefinite.” Soverain’s
cart database connected to                                     Claim Construction Brief at 28-29, Nov. 16, 2004.
the shopping cart
computer; the buyer                                            “Story: ‘We are building a payment system for the Web. Our novel
computer and the shopping                                      approach works with today’s clients and doesn’t let the merchants see
cart computer being                                            the client’s payment credentials.’ ” See SVN2-0040037 of SVN2-
interconnected by a public                                     0040037-42 (emphasis added).
packet switched computer
network; the buyer                                             “Abstract
computer being                                                 A network-based sales system includes at least one buyer computer for
programmed to receive a                                        operation by a user desiring to buy a product, at least one merchant
plurality of requests from a                                   computer, and at least one payment computer. The buyer computer, the
user to add a plurality of                                     merchant computer, and the payment computer are interconnected by a
respective products to a                                       computer network. The buyer computer is programmed to receive a user
shopping cart in the                                           request for purchasing a product, and to cause a payment message to be
shopping cart database, and,                                   sent to the payment computer that comprises a product identifier
in response to the requests                                    identifying the product. The payment computer is programmed to
to add the products, to send                                   receive the payment message, to cause an access message to be
a plurality of respective                                      created that comprises the product identifier and an access message
shopping cart messages over                                    authenticator based on a cryptographic key, and to cause the access


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Claim Element(s)                Defendants’ Construction   Support for Construction

the network to the shopping                                message to be sent to the merchant computer. The merchant computer
cart computer each of                                      is programmed to receive the access message, to verify the access
which comprises a product                                  message authenticator to ensure that the access message authenticator
identifier identifying one of                              was created using the cryptographic key, and to cause the product to be
the plurality of products and                              sent to the user desiring to buy the product.” The ‘314 Patent (emphasis
at least one of which                                      added.)
comprises a universal
resource locator;                                          “U.S. patent application Ser. No. 08/168,519, filed Dec. 16, 1993 by David K.
the shopping cart                                          Gifford and entitled "Digital Active Advertising," the entire disclosure of which
computer being                                             is hereby incorporated herein in its entirety by reference, now abandoned,
programmed to receive the                                  describes a network sales system that includes a plurality of buyer computers, a
                                                           plurality of merchant computers, and a payment computer. A user at a buyer
plurality of shopping cart
                                                           computer asks to have advertisements displayed, and the buyer computer
messages, to modify the                                    requests advertisements from a merchant computer, which sends the
shopping cart in the                                       advertisements to the buyer computer. The user then requests purchase of
shopping cart database to                                  an advertised product, and the buyer computer sends a purchase message
reflect the plurality of                                   to the merchant computer. The merchant computer constructs a payment
requests to add the plurality                              order that it sends to the payment computer, which authorizes the
of products to the shopping                                purchase and sends an authorization message to the merchant computer.
cart, and to cause a payment                               When the merchant computer receives the authorization message it sends
message associated with the                                the product to the buyer computer.
shopping cart to be created,
the payment message                                        The above-mentioned patent application also describes an alternative
                                                           implementation of the network sales system in which, when the user
comprising a universal
                                                           requests purchase of an advertised product, the buyer computer sends a
resource locator; and the                                  payment order directly to the payment computer, which sends an
buyer computer being                                       authorization message back to the buyer computer that includes an
programmed to receive a                                    unforgeable certificate that the payment order is valid. The buyer computer then
request from the user to                                   constructs a purchase message that includes the unforgeable certificate and
purchase the plurality of                                  sends it to the merchant computer. When the merchant computer receives the
products added to the                                      purchase request it sends the product to the buyer computer, based upon the
shopping cart and to cause                                 pre-authorized payment order.” The ‘314 Patent at 1:18-47 (emphasis added.)
the payment message to be


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Claim Element(s)                Defendants’ Construction   Support for Construction

activated to initiate a                                    “The invention provides a simple design architecture for the network sales
payment transaction for the                                system that allows the merchant computer to respond to payment orders
plurality of products added                                from the buyer computer without the merchant computer having to
to the shopping cart;                                      communicate directly with the payment computer to ensure that the user is
the shopping cart being a                                  authorized to purchase the product and without the merchant computer
                                                           having to store information in a database regarding which buyers are
stored representation of a
                                                           authorized to purchase which products. Rather, when the merchant computer
collection of products, the                                receives an access message from the buyer computer identifying a product to be
shopping cart database                                     purchased, the merchant computer need only check the access message to
being a database of stored                                 ensure that it was created by the payment computer (thereby establishing for the
representations of                                         merchant computer that the buyer is authorized to purchase the product), and
collections of products, and                               then the merchant computer can cause the product to be sent to the buyer
the shopping cart                                          computer who has been authorized to purchase the product.” The ‘314 Patent at
computer being a computer                                  2: 3-18 (emphasis added.)
that modifies the stored
representations of                                         “Brief Description of the Drawings
collections of products in                                 FIG. 1 is a block diagram of a network sales system in accordance with the
the database.                                              present invention.
                                                           FIG. 2 (2-A through 2-I) is a flowchart diagram illustrating the operation of a
                                                           purchase transaction in the network sales system of FIG. 1.
                                                           FIG. 3 (3-A through 3-B) is a flowchart diagram illustrating the use of a
                                                           shopping cart for the purchase of products in connection with the network
                                                           sales system of FIG. 1.
                                                           FIG. 4 (4-A through 4-C) is a flowchart diagram illustrating the operation of a
                                                           smart statement in the network sales system of FIG. 1.” The ‘314 Patent at
                                                           3:58-4:3 (emphasis added.)

                                                           “The payment URL authenticator is a hash of other information in the payment
                                                           URL, the hash being defined by a key shared by the merchant and the
                                                           operator of the payment computer.” The ‘314 Patent at 5: 45-47 (emphasis
                                                           added.)

                                                           “Payment computer 16 has access to a settlement database 22 in which payment




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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           computer 16 can record details of purchase transactions. The products may be
                                                           organized into various ‘domains’ of products, and payment computer 16 can
                                                           access settlement database 22 to record and retrieve records of purchases of
                                                           products falling within the various domains. Payment computer 16 also has
                                                           access to a shopping cart database 21 in which a ‘shopping cart’ of
                                                           products that a user wishes to purchase can be maintained as the user shops
                                                           prior to actual purchase of the contents of the shopping cart.” The ‘314 Patent at
                                                           5:5-15 (emphasis added.)

                                                           “The user browses through the advertising document and eventually requests a
                                                           product (step 32). This results in the buyer computer sending payment URL A
                                                           to the payment computer (step 34). Payment URL A includes … a merchant
                                                           computer identifier that represents merchant computer 14, a merchant
                                                           account identifier that represents the particular merchant account to be credited
                                                           with the payment amount, …. The payment URL authenticator is a hash of
                                                           other information in the payment URL, the hash being defined by a key shared
                                                           by the merchant and the operator of the payment computer.” The ‘314
                                                           Patent at 5: 26-47 (emphasis added.)

                                                           “In an alternative embodiment, step 34 consists of the buyer computer sending a
                                                           purchase product message to the merchant computer, and the merchant
                                                           computer provides payment VRL[URL] A to the buyer computer in response to
                                                           the purchase product message. In this alternative embodiment, payment URL A
                                                           contains the same contents as above. The buyer computer then sends the
                                                           payment URL A it has received from the merchant computer to the payment
                                                           computer.” The ‘314 Patent at 5: 48-56 (emphasis added.)

                                                            “… the payment computer creates an access URL (step 80) that includes a
                                                           merchant computer identifier ….” The ‘314 Patent at 7:19-20 (emphasis
                                                           added.)

                                                            “The payment computer then sends a redirect to access URL to the buyer
                                                           computer (step 90), which sends the access URL to the merchant computer
                                                           (step 92).” The ‘314 Patent at 7: 31-33 (emphasis added.)


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Claim Element(s)                Defendants’ Construction   Support for Construction


                                                           “With reference now to FIG. 3, when the merchant computer sends the
                                                           advertising document to the buyer computer, the user may request that a
                                                           product be added to a shopping cart in the shopping cart database rather than
                                                           request that the product be purchased immediately. The buyer computer sends a
                                                           shopping cart URL to the payment computer (step 108), the shopping cart
                                                           URL including … a merchant computer identifier …” The ‘314 Patent at 7:
                                                           55- 8:2 (emphasis added.)

                                                           “The user then either requests more advertisements (step 24 in FIG. 2) [user
                                                           requests advertisements from the merchant computer] and possibly adds another
                                                           product to the shopping cart, requests display of the shopping cart (step 116), or
                                                           requests purchase of the entire contents of the shopping cart (step 124). If the
                                                           user requests display of the shopping cart (step 116), the buyer computer
                                                           sends a fetch shopping cart request to the payment computer (step 118),
                                                           and the payment computer and buyer computer (step 119) perform steps
                                                           analogous to steps 64-81. The payment computer returns the contents of the
                                                           shopping cart to the buyer computer (step 120), which displays the contents
                                                           of the shopping cart (step 122). If the user requests that the entire contents of
                                                           the shopping cart be purchased (step 124) the buyer computer causes the
                                                           payment URL for the shopping cart to be activated (step 126) …” The ‘314
                                                           Patent at 8: 14-28 (emphasis added.)

                                                           “ … the payment URL is processed in a manner analogous to the processing
                                                           of payment URLs for individual products (beginning with step 36 in FIG. 2)”
                                                           The ‘314 Patent at 8: 28-32 (emphasis added.)

                                                           “Merchant Account
                                                           Each merchant has an entry in the principal table in the payment
                                                           database. …This information is revealed to customers in the appropriate
                                                           setting. …
                                                           The secretkey table
                                                           … Three parties need to know a merchant’s keys. The merchant must



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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           know, in order to sign payment URLs. The payment system must know,
                                                           in order to validate payment URLs and to sign access URLs, and the
                                                           merchant server must know, in order to validate access URLs. (n,b,
                                                           There is no particular reason to use the same keys for payment and
                                                           for access. …
                                                           The merchantserver table
                                                           In an environment where there are multiple merchant servers, the
                                                           merchant server table tells the payment system which servers are hosting
                                                           a particular merchant. …
                                                           In order for the payment system to work, the following steps must be
                                                           accomplished:
                                                                Create principal account for merchant
                                                                Create keys for merchant
                                                                Load merchant server with merchant keys
                                                                Use merchant’s keys to generate payment URLs” App. E of the
                                                            ‘314 Patent, SOV 000146-148 (emphasis added.)

                                                           “OM Vision,” See SOV1627 of SOV1624-36

                                                           ”The basic idea is to have-pay-per-page links in the merchant’s database that
                                                           point to our payment system and encode payment details (these are called
                                                           payment URLs). Our payment system processes the payment order, and
                                                           returns an HTTP redirect to deflect the client to the real URL on the
                                                           merchant’s server. The redirect URL is called the access URL. The effect for
                                                           the user is a seamless link from one merchant page to another merchant page.”
                                                           See SOV1721 of SOV1719-39 (emphasis added.)

                                                           “ To be successful in creating an electronic marketplace the payment
                                                           system must address the following needs
                                                           -It must be designed to work in open and untrusted networks. Currently
                                                           systems require a prior relationship between the merchant and the



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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           prospective customer. To establish a broad market the payment system
                                                           must enable any user to freely choose any merchant in the same way as
                                                           he or she would shop in a traditional marketplace. The cost of
                                                           establishing a buyer’s payment credentials must be reduced
                                                           sufficiently to permit individual transactions between unaffiliated
                                                           parties to occur efficiently. … Open market’s payment system is the
                                                           only existing system hat meets all these requirements. The architecture
                                                           permits unaffiliated merchants to accept payment from any buyer
                                                           using any means of payment that is acceptable to both parties.” See
                                                           SOV1749-1750 of SOV1740-86 (emphasis added.)

                                                           “no direct communication … p.a. … merchant talks with payment …
                                                           a necessitated special connections between … clearly partitioning
                                                           problem … allows us to use existing widely available software …” See
                                                           SOV1835 of SOV1835-39 (emphasis added.)

                                                           “2. How do orders get placed at the merchant in a reliable way:
                                                           Right now, “hard goods” which require orders to be transmitted to
                                                           the merchant are handled by the shopping cart mechanism. When a
                                                           shopping cart is purchased, a database field associated with the cart
                                                           transitions from state o to state 1, which means the total amount has been
                                                           recorded in the payment system. Some as yet unnamed mechanism is
                                                           supposed to move the field from state 1 to state 2 (order entered)
                                                           when the order has made it to the merchant.” See SOV1848 of
                                                           SOV1848-1849 and SOV39754 of SVN2-0039753-55
                                                           (emphasis added.)

                                                           See also “Payment System Componets,” SVN2-0039770-76.

Claim 18 of The ‘492 Patent




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Claim Element(s)                Defendants’ Construction       Support for Construction

18. A method of operating a     shopping cart computer -       “Second, it is not clear which other computer the Defendants are trying
shopping cart computer in                                      to distinguish the ‘shopping cart computer’ from, when they say it must
a public packet switched        a computer processing data     be ‘separate from a computer providing product descriptions to a user.’
computer network                associated with one or more    Does this mean the buyer computer (which displays descriptions to
comprising at least one         shopping carts but is not      users) or the merchant computer (which causes product descriptions to be
                                operated by an operator of a
buyer computer for                                             sent to the user)? Because of this lack of clarity, the Defendants’
                                merchant computer
operation by a user desiring                                   proposed construction would render the claims indefinite.” Soverain’s
to buy products, at least one                                  Claim Construction Brief at 28-29, Nov. 16, 2004.
shopping cart computer,
and a shopping cart database                                   “Story: ‘We are building a payment system for the Web. Our novel
connected to the shopping                                      approach works with today’s clients and doesn’t let the merchants see
cart computer, the method                                      the client’s payment credentials.’ ” See SVN2-0040037 of SVN2-
comprising the steps of:                                       0040037-42 (emphasis added).
receiving, at the shopping
cart computer, a plurality                                     “Abstract
of shopping cart messages                                      A network-based sales system includes at least one buyer computer for
sent over the network to the                                   operation by a user desiring to buy a product, at least one merchant
shopping cart computer by                                      computer, and at least one payment computer. The buyer computer, the
the buyer computer in                                          merchant computer, and the payment computer are interconnected by a
response to receipt of a                                       computer network. The buyer computer is programmed to receive a user
plurality of requests from a                                   request for purchasing a product, and to cause a payment message to be
user to add a plurality of                                     sent to the payment computer that comprises a product identifier
respective products to a                                       identifying the product. The payment computer is programmed to
shopping cart in the                                           receive the payment message, to cause an access message to be
shopping cart database, each                                   created that comprises the product identifier and an access message
of the shopping cart                                           authenticator based on a cryptographic key, and to cause the access
messages comprising a                                          message to be sent to the merchant computer. The merchant computer
product identifier                                             is programmed to receive the access message, to verify the access
identifying one of the                                         message authenticator to ensure that the access message authenticator
plurality of products and at                                   was created using the cryptographic key, and to cause the product to be
least one of which                                             sent to the user desiring to buy the product.” The ‘314 Patent (emphasis


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Claim Element(s)                Defendants’ Construction   Support for Construction

comprises a universal                                      added.)
resource locator;
modifying the shopping cart                                “U.S. patent application Ser. No. 08/168,519, filed Dec. 16, 1993 by David K.
in the shopping cart                                       Gifford and entitled "Digital Active Advertising," the entire disclosure of which
database to reflect the                                    is hereby incorporated herein in its entirety by reference, now abandoned,
plurality of requests to add                               describes a network sales system that includes a plurality of buyer computers, a
                                                           plurality of merchant computers, and a payment computer. A user at a buyer
the plurality of products to
                                                           computer asks to have advertisements displayed, and the buyer computer
the shopping cart; and                                     requests advertisements from a merchant computer, which sends the
causing a payment message                                  advertisements to the buyer computer. The user then requests purchase of
associated with the                                        an advertised product, and the buyer computer sends a purchase message
shopping cart to be created,                               to the merchant computer. The merchant computer constructs a payment
the payment message                                        order that it sends to the payment computer, which authorizes the
comprising a universal                                     purchase and sends an authorization message to the merchant computer.
resource locator;                                          When the merchant computer receives the authorization message it sends
the buyer computer being                                   the product to the buyer computer.
programmed to receive a
request from the user to                                   The above-mentioned patent application also describes an alternative
                                                           implementation of the network sales system in which, when the user
purchase the plurality of
                                                           requests purchase of an advertised product, the buyer computer sends a
products added to the                                      payment order directly to the payment computer, which sends an
shopping cart and to cause                                 authorization message back to the buyer computer that includes an
the payment message to be                                  unforgeable certificate that the payment order is valid. The buyer computer then
activated to initiate a                                    constructs a purchase message that includes the unforgeable certificate and
payment transaction for the                                sends it to the merchant computer. When the merchant computer receives the
plurality of products added                                purchase request it sends the product to the buyer computer, based upon the
to the shopping cart;                                      pre-authorized payment order.” The ‘314 Patent at 1:18-47 (emphasis added.)
the shopping cart being a
stored representation of a                                 “The invention provides a simple design architecture for the network sales
collection of products, the                                system that allows the merchant computer to respond to payment orders
                                                           from the buyer computer without the merchant computer having to
shopping cart database
                                                           communicate directly with the payment computer to ensure that the user is
being a database of stored                                 authorized to purchase the product and without the merchant computer
representations of


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Claim Element(s)                Defendants’ Construction   Support for Construction

collections of products, and                               having to store information in a database regarding which buyers are
the shopping cart                                          authorized to purchase which products. Rather, when the merchant computer
computer being a computer                                  receives an access message from the buyer computer identifying a product to be
that modifies the stored                                   purchased, the merchant computer need only check the access message to
representations of                                         ensure that it was created by the payment computer (thereby establishing for the
                                                           merchant computer that the buyer is authorized to purchase the product), and
collections of products in
                                                           then the merchant computer can cause the product to be sent to the buyer
the database.                                              computer who has been authorized to purchase the product.” The ‘314 Patent at
                                                           2: 3-18 (emphasis added.)

                                                           “Brief Description of the Drawings
                                                           FIG. 1 is a block diagram of a network sales system in accordance with the
                                                           present invention.
                                                           FIG. 2 (2-A through 2-I) is a flowchart diagram illustrating the operation of a
                                                           purchase transaction in the network sales system of FIG. 1.
                                                           FIG. 3 (3-A through 3-B) is a flowchart diagram illustrating the use of a
                                                           shopping cart for the purchase of products in connection with the network
                                                           sales system of FIG. 1.
                                                           FIG. 4 (4-A through 4-C) is a flowchart diagram illustrating the operation of a
                                                           smart statement in the network sales system of FIG. 1.” The ‘314 Patent at
                                                           3:58-4:3 (emphasis added.)

                                                           “The payment URL authenticator is a hash of other information in the payment
                                                           URL, the hash being defined by a key shared by the merchant and the
                                                           operator of the payment computer.” The ‘314 Patent at 5: 45-47 (emphasis
                                                           added.)

                                                           “Payment computer 16 has access to a settlement database 22 in which payment
                                                           computer 16 can record details of purchase transactions. The products may be
                                                           organized into various ‘domains’ of products, and payment computer 16 can
                                                           access settlement database 22 to record and retrieve records of purchases of
                                                           products falling within the various domains. Payment computer 16 also has
                                                           access to a shopping cart database 21 in which a ‘shopping cart’ of



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                                                           products that a user wishes to purchase can be maintained as the user shops
                                                           prior to actual purchase of the contents of the shopping cart.” The ‘314 Patent at
                                                           5:5-15 (emphasis added.)

                                                           “The user browses through the advertising document and eventually requests a
                                                           product (step 32). This results in the buyer computer sending payment URL A
                                                           to the payment computer (step 34). Payment URL A includes … a merchant
                                                           computer identifier that represents merchant computer 14, a merchant
                                                           account identifier that represents the particular merchant account to be credited
                                                           with the payment amount, …. The payment URL authenticator is a hash of
                                                           other information in the payment URL, the hash being defined by a key shared
                                                           by the merchant and the operator of the payment computer.” The ‘314
                                                           Patent at 5: 26-47 (emphasis added.)

                                                           “In an alternative embodiment, step 34 consists of the buyer computer sending a
                                                           purchase product message to the merchant computer, and the merchant
                                                           computer provides payment VRL[URL] A to the buyer computer in response to
                                                           the purchase product message. In this alternative embodiment, payment URL A
                                                           contains the same contents as above. The buyer computer then sends the
                                                           payment URL A it has received from the merchant computer to the payment
                                                           computer.” The ‘314 Patent at 5: 48-56 (emphasis added.)

                                                            “… the payment computer creates an access URL (step 80) that includes a
                                                           merchant computer identifier ….” The ‘314 Patent at 7:19-20 (emphasis
                                                           added.)

                                                            “The payment computer then sends a redirect to access URL to the buyer
                                                           computer (step 90), which sends the access URL to the merchant computer
                                                           (step 92).” The ‘314 Patent at 7: 31-33 (emphasis added.)

                                                           “With reference now to FIG. 3, when the merchant computer sends the
                                                           advertising document to the buyer computer, the user may request that a
                                                           product be added to a shopping cart in the shopping cart database rather than
                                                           request that the product be purchased immediately. The buyer computer sends a


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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           shopping cart URL to the payment computer (step 108), the shopping cart
                                                           URL including … a merchant computer identifier …” The ‘314 Patent at 7:
                                                           55- 8:2 (emphasis added.)

                                                           “The user then either requests more advertisements (step 24 in FIG. 2) [user
                                                           requests advertisements from the merchant computer] and possibly adds another
                                                           product to the shopping cart, requests display of the shopping cart (step 116), or
                                                           requests purchase of the entire contents of the shopping cart (step 124). If the
                                                           user requests display of the shopping cart (step 116), the buyer computer
                                                           sends a fetch shopping cart request to the payment computer (step 118),
                                                           and the payment computer and buyer computer (step 119) perform steps
                                                           analogous to steps 64-81. The payment computer returns the contents of the
                                                           shopping cart to the buyer computer (step 120), which displays the contents
                                                           of the shopping cart (step 122). If the user requests that the entire contents of
                                                           the shopping cart be purchased (step 124) the buyer computer causes the
                                                           payment URL for the shopping cart to be activated (step 126) …” The ‘314
                                                           Patent at 8: 14-28 (emphasis added.)

                                                           “ … the payment URL is processed in a manner analogous to the processing
                                                           of payment URLs for individual products (beginning with step 36 in FIG. 2)”
                                                           The ‘314 Patent at 8: 28-32 (emphasis added.)

                                                           “Merchant Account
                                                           Each merchant has an entry in the principal table in the payment
                                                           database. …This information is revealed to customers in the appropriate
                                                           setting. …
                                                           The secretkey table
                                                           … Three parties need to know a merchant’s keys. The merchant must
                                                           know, in order to sign payment URLs. The payment system must know,
                                                           in order to validate payment URLs and to sign access URLs, and the
                                                           merchant server must know, in order to validate access URLs. (n,b,
                                                           There is no particular reason to use the same keys for payment and
                                                           for access. …


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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           The merchantserver table
                                                           In an environment where there are multiple merchant servers, the
                                                           merchant server table tells the payment system which servers are hosting
                                                           a particular merchant. …
                                                           In order for the payment system to work, the following steps must be
                                                           accomplished:
                                                                Create principal account for merchant
                                                                Create keys for merchant
                                                                Load merchant server with merchant keys
                                                                Use merchant’s keys to generate payment URLs” App. E of the
                                                            ‘314 Patent, SOV 000146-148 (emphasis added.)

                                                           “OM Vision,” See SOV1627 of SOV1624-36

                                                           ”The basic idea is to have-pay-per-page links in the merchant’s database that
                                                           point to our payment system and encode payment details (these are called
                                                           payment URLs). Our payment system processes the payment order, and
                                                           returns an HTTP redirect to deflect the client to the real URL on the
                                                           merchant’s server. The redirect URL is called the access URL. The effect for
                                                           the user is a seamless link from one merchant page to another merchant page.”
                                                           See SOV1721 of SOV1719-39 (emphasis added.)

                                                           “ To be successful in creating an electronic marketplace the payment
                                                           system must address the following needs
                                                           -It must be designed to work in open and untrusted networks. Currently
                                                           systems require a prior relationship between the merchant and the
                                                           prospective customer. To establish a broad market the payment system
                                                           must enable any user to freely choose any merchant in the same way as
                                                           he or she would shop in a traditional marketplace. The cost of
                                                           establishing a buyer’s payment credentials must be reduced
                                                           sufficiently to permit individual transactions between unaffiliated



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Claim Element(s)                Defendants’ Construction      Support for Construction

                                                              parties to occur efficiently. … Open market’s payment system is the
                                                              only existing system hat meets all these requirements. The architecture
                                                              permits unaffiliated merchants to accept payment from any buyer
                                                              using any means of payment that is acceptable to both parties.” See
                                                              SOV1749-1750 of SOV1740-86 (emphasis added.)

                                                              “no direct communication … p.a. … merchant talks with payment …
                                                              a necessitated special connections between … clearly partitioning
                                                              problem … allows us to use existing widely available software …” See
                                                              SOV1835 of SOV1835-39 (emphasis added.)

                                                              “2. How do orders get placed at the merchant in a reliable way:
                                                              Right now, “hard goods” which require orders to be transmitted to
                                                              the merchant are handled by the shopping cart mechanism. When a
                                                              shopping cart is purchased, a database field associated with the cart
                                                              transitions from state o to state 1, which means the total amount has been
                                                              recorded in the payment system. Some as yet unnamed mechanism is
                                                              supposed to move the field from state 1 to state 2 (order entered)
                                                              when the order has made it to the merchant.” See SOV1848 of
                                                              SOV1848-1849 and SOV39754 of SVN2-0039753-55
                                                              (emphasis added.)

                                                              See also “Payment System Componets,” SVN2-0039770-76.

Claim 35 of The ‘492 Patent

35. A network-based sales       shopping cart computer -      “Second, it is not clear which other computer the Defendants are trying
system, comprising:                                           to distinguish the ‘shopping cart computer’ from, when they say it must
at least one buyer computer     a computer processing data    be ‘separate from a computer providing product descriptions to a user.’
for operation by a user         associated with one or more   Does this mean the buyer computer (which displays descriptions to
                                shopping carts but is not



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desiring to buy products;     operated by an operator of a   users) or the merchant computer (which causes product descriptions to be
at least one shopping cart    merchant computer              sent to the user)? Because of this lack of clarity, the Defendants’
computer; and a shopping                                     proposed construction would render the claims indefinite.” Soverain’s
cart database connected to                                   Claim Construction Brief at 28-29, Nov. 16, 2004.
the shopping cart computer;
the buyer computer and the                                   “Story: ‘We are building a payment system for the Web. Our novel
shopping cart computer                                       approach works with today’s clients and doesn’t let the merchants see
being interconnected by a                                    the client’s payment credentials.’ ” See SVN2-0040037 of SVN2-
public packet switched                                       0040037-42 (emphasis added).
computer network; the
buyer computer being                                         “Abstract
programmed to receive a                                      A network-based sales system includes at least one buyer computer for
plurality of requests from a                                 operation by a user desiring to buy a product, at least one merchant
user to add a plurality of                                   computer, and at least one payment computer. The buyer computer, the
respective products to a                                     merchant computer, and the payment computer are interconnected by a
shopping cart in the                                         computer network. The buyer computer is programmed to receive a user
shopping cart database, and,                                 request for purchasing a product, and to cause a payment message to be
in response to the requests                                  sent to the payment computer that comprises a product identifier
to add the products, to send                                 identifying the product. The payment computer is programmed to
a plurality of respective                                    receive the payment message, to cause an access message to be
shopping cart messages over                                  created that comprises the product identifier and an access message
the network to the shopping                                  authenticator based on a cryptographic key, and to cause the access
cart computer each of                                        message to be sent to the merchant computer. The merchant computer
which comprises a product                                    is programmed to receive the access message, to verify the access
identifier identifying one of                                message authenticator to ensure that the access message authenticator
the plurality of products;                                   was created using the cryptographic key, and to cause the product to be
the shopping cart                                            sent to the user desiring to buy the product.” The ‘314 Patent (emphasis
computer being                                               added.)
programmed to receive the
plurality of shopping cart                                   “U.S. patent application Ser. No. 08/168,519, filed Dec. 16, 1993 by David K.
messages, and to modify the                                  Gifford and entitled "Digital Active Advertising," the entire disclosure of which



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shopping cart in the                                       is hereby incorporated herein in its entirety by reference, now abandoned,
shopping cart database to                                  describes a network sales system that includes a plurality of buyer computers, a
reflect the plurality of                                   plurality of merchant computers, and a payment computer. A user at a buyer
requests to add the plurality                              computer asks to have advertisements displayed, and the buyer computer
of products to the shopping                                requests advertisements from a merchant computer, which sends the
                                                           advertisements to the buyer computer. The user then requests purchase of
cart; and the buyer computer
                                                           an advertised product, and the buyer computer sends a purchase message
being programmed to                                        to the merchant computer. The merchant computer constructs a payment
receive a request from the                                 order that it sends to the payment computer, which authorizes the
user to purchase the                                       purchase and sends an authorization message to the merchant computer.
plurality of products added                                When the merchant computer receives the authorization message it sends
to the shopping cart and to                                the product to the buyer computer.
cause a payment message to
be activated to initiate a                                 The above-mentioned patent application also describes an alternative
payment transaction for the                                implementation of the network sales system in which, when the user
plurality of products added                                requests purchase of an advertised product, the buyer computer sends a
to the shopping cart;                                      payment order directly to the payment computer, which sends an
                                                           authorization message back to the buyer computer that includes an
the shopping cart being a
                                                           unforgeable certificate that the payment order is valid. The buyer computer then
stored representation of a                                 constructs a purchase message that includes the unforgeable certificate and
collection of products, the                                sends it to the merchant computer. When the merchant computer receives the
shopping cart database                                     purchase request it sends the product to the buyer computer, based upon the
being a database of stored                                 pre-authorized payment order.” The ‘314 Patent at 1:18-47 (emphasis added.)
representations of
collections of products, and                               “The invention provides a simple design architecture for the network sales
the shopping cart                                          system that allows the merchant computer to respond to payment orders
computer being a computer                                  from the buyer computer without the merchant computer having to
that modifies the stored                                   communicate directly with the payment computer to ensure that the user is
representations of                                         authorized to purchase the product and without the merchant computer
                                                           having to store information in a database regarding which buyers are
collections of products in
                                                           authorized to purchase which products. Rather, when the merchant computer
the database.                                              receives an access message from the buyer computer identifying a product to be
                                                           purchased, the merchant computer need only check the access message to
                                                           ensure that it was created by the payment computer (thereby establishing for the


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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           merchant computer that the buyer is authorized to purchase the product), and
                                                           then the merchant computer can cause the product to be sent to the buyer
                                                           computer who has been authorized to purchase the product.” The ‘314 Patent at
                                                           2: 3-18 (emphasis added.)

                                                           “Brief Description of the Drawings
                                                           FIG. 1 is a block diagram of a network sales system in accordance with the
                                                           present invention.
                                                           FIG. 2 (2-A through 2-I) is a flowchart diagram illustrating the operation of a
                                                           purchase transaction in the network sales system of FIG. 1.
                                                           FIG. 3 (3-A through 3-B) is a flowchart diagram illustrating the use of a
                                                           shopping cart for the purchase of products in connection with the network
                                                           sales system of FIG. 1.
                                                           FIG. 4 (4-A through 4-C) is a flowchart diagram illustrating the operation of a
                                                           smart statement in the network sales system of FIG. 1.” The ‘314 Patent at
                                                           3:58-4:3 (emphasis added.)

                                                           “The payment URL authenticator is a hash of other information in the payment
                                                           URL, the hash being defined by a key shared by the merchant and the
                                                           operator of the payment computer.” The ‘314 Patent at 5: 45-47 (emphasis
                                                           added.)

                                                           “Payment computer 16 has access to a settlement database 22 in which payment
                                                           computer 16 can record details of purchase transactions. The products may be
                                                           organized into various ‘domains’ of products, and payment computer 16 can
                                                           access settlement database 22 to record and retrieve records of purchases of
                                                           products falling within the various domains. Payment computer 16 also has
                                                           access to a shopping cart database 21 in which a ‘shopping cart’ of
                                                           products that a user wishes to purchase can be maintained as the user shops
                                                           prior to actual purchase of the contents of the shopping cart.” The ‘314 Patent at
                                                           5:5-15 (emphasis added.)

                                                           “The user browses through the advertising document and eventually requests a




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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           product (step 32). This results in the buyer computer sending payment URL A
                                                           to the payment computer (step 34). Payment URL A includes … a merchant
                                                           computer identifier that represents merchant computer 14, a merchant
                                                           account identifier that represents the particular merchant account to be credited
                                                           with the payment amount, …. The payment URL authenticator is a hash of
                                                           other information in the payment URL, the hash being defined by a key shared
                                                           by the merchant and the operator of the payment computer.” The ‘314
                                                           Patent at 5: 26-47 (emphasis added.)

                                                           “In an alternative embodiment, step 34 consists of the buyer computer sending a
                                                           purchase product message to the merchant computer, and the merchant
                                                           computer provides payment VRL[URL] A to the buyer computer in response to
                                                           the purchase product message. In this alternative embodiment, payment URL A
                                                           contains the same contents as above. The buyer computer then sends the
                                                           payment URL A it has received from the merchant computer to the payment
                                                           computer.” The ‘314 Patent at 5: 48-56 (emphasis added.)

                                                            “… the payment computer creates an access URL (step 80) that includes a
                                                           merchant computer identifier ….” The ‘314 Patent at 7:19-20 (emphasis
                                                           added.)

                                                            “The payment computer then sends a redirect to access URL to the buyer
                                                           computer (step 90), which sends the access URL to the merchant computer
                                                           (step 92).” The ‘314 Patent at 7: 31-33 (emphasis added.)

                                                           “With reference now to FIG. 3, when the merchant computer sends the
                                                           advertising document to the buyer computer, the user may request that a
                                                           product be added to a shopping cart in the shopping cart database rather than
                                                           request that the product be purchased immediately. The buyer computer sends a
                                                           shopping cart URL to the payment computer (step 108), the shopping cart
                                                           URL including … a merchant computer identifier …” The ‘314 Patent at 7:
                                                           55- 8:2 (emphasis added.)

                                                           “The user then either requests more advertisements (step 24 in FIG. 2) [user


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                                                           requests advertisements from the merchant computer] and possibly adds another
                                                           product to the shopping cart, requests display of the shopping cart (step 116), or
                                                           requests purchase of the entire contents of the shopping cart (step 124). If the
                                                           user requests display of the shopping cart (step 116), the buyer computer
                                                           sends a fetch shopping cart request to the payment computer (step 118),
                                                           and the payment computer and buyer computer (step 119) perform steps
                                                           analogous to steps 64-81. The payment computer returns the contents of the
                                                           shopping cart to the buyer computer (step 120), which displays the contents
                                                           of the shopping cart (step 122). If the user requests that the entire contents of
                                                           the shopping cart be purchased (step 124) the buyer computer causes the
                                                           payment URL for the shopping cart to be activated (step 126) …” The ‘314
                                                           Patent at 8: 14-28 (emphasis added.)

                                                           “ … the payment URL is processed in a manner analogous to the processing
                                                           of payment URLs for individual products (beginning with step 36 in FIG. 2)”
                                                           The ‘314 Patent at 8: 28-32 (emphasis added.)

                                                           “Merchant Account
                                                           Each merchant has an entry in the principal table in the payment
                                                           database. …This information is revealed to customers in the appropriate
                                                           setting. …
                                                           The secretkey table
                                                           … Three parties need to know a merchant’s keys. The merchant must
                                                           know, in order to sign payment URLs. The payment system must know,
                                                           in order to validate payment URLs and to sign access URLs, and the
                                                           merchant server must know, in order to validate access URLs. (n,b,
                                                           There is no particular reason to use the same keys for payment and
                                                           for access. …
                                                           The merchantserver table
                                                           In an environment where there are multiple merchant servers, the
                                                           merchant server table tells the payment system which servers are hosting
                                                           a particular merchant. …



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Claim Element(s)                Defendants’ Construction   Support for Construction

                                                           In order for the payment system to work, the following steps must be
                                                           accomplished:
                                                                Create principal account for merchant
                                                                Create keys for merchant
                                                                Load merchant server with merchant keys
                                                                Use merchant’s keys to generate payment URLs” App. E of the
                                                            ‘314 Patent, SOV 000146-148 (emphasis added.)

                                                           “OM Vision,” See SOV1627 of SOV1624-36

                                                           ”The basic idea is to have-pay-per-page links in the merchant’s database that
                                                           point to our payment system and encode payment details (these are called
                                                           payment URLs). Our payment system processes the payment order, and
                                                           returns an HTTP redirect to deflect the client to the real URL on the
                                                           merchant’s server. The redirect URL is called the access URL. The effect for
                                                           the user is a seamless link from one merchant page to another merchant page.”
                                                           See SOV1721 of SOV1719-39 (emphasis added.)

                                                           “ To be successful in creating an electronic marketplace the payment
                                                           system must address the following needs
                                                           -It must be designed to work in open and untrusted networks. Currently
                                                           systems require a prior relationship between the merchant and the
                                                           prospective customer. To establish a broad market the payment system
                                                           must enable any user to freely choose any merchant in the same way as
                                                           he or she would shop in a traditional marketplace. The cost of
                                                           establishing a buyer’s payment credentials must be reduced
                                                           sufficiently to permit individual transactions between unaffiliated
                                                           parties to occur efficiently. … Open market’s payment system is the
                                                           only existing system hat meets all these requirements. The architecture
                                                           permits unaffiliated merchants to accept payment from any buyer
                                                           using any means of payment that is acceptable to both parties.” See



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                                                               SOV1749-1750 of SOV1740-86 (emphasis added.)

                                                               “no direct communication … p.a. … merchant talks with payment …
                                                               a necessitated special connections between … clearly partitioning
                                                               problem … allows us to use existing widely available software …” See
                                                               SOV1835 of SOV1835-39 (emphasis added.)

                                                               “2. How do orders get placed at the merchant in a reliable way:
                                                               Right now, “hard goods” which require orders to be transmitted to
                                                               the merchant are handled by the shopping cart mechanism. When a
                                                               shopping cart is purchased, a database field associated with the cart
                                                               transitions from state o to state 1, which means the total amount has been
                                                               recorded in the payment system. Some as yet unnamed mechanism is
                                                               supposed to move the field from state 1 to state 2 (order entered)
                                                               when the order has made it to the merchant.” See SOV1848 of
                                                               SOV1848-1849 and SOV39754 of SVN2-0039753-55
                                                               (emphasis added.)

                                                               See also “Payment System Componets,” SVN2-0039770-76.

Claim 36 of The ‘492 Patent

36. A method of operating a     shopping cart computer -       “Second, it is not clear which other computer the Defendants are trying
shopping cart computer in                                      to distinguish the ‘shopping cart computer’ from, when they say it must
a public packet switched        a computer processing data     be ‘separate from a computer providing product descriptions to a user.’
computer network                associated with one or more    Does this mean the buyer computer (which displays descriptions to
comprising at least one         shopping carts but is not      users) or the merchant computer (which causes product descriptions to be
                                operated by an operator of a
buyer computer for                                             sent to the user)? Because of this lack of clarity, the Defendants’
                                merchant computer
operation by a user desiring                                   proposed construction would render the claims indefinite.” Soverain’s
to buy products, at least one                                  Claim Construction Brief at 28-29, Nov. 16, 2004.



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Claim Element(s)                Defendants’ Construction   Support for Construction

shopping cart computer,
and a shopping cart database                               “Story: ‘We are building a payment system for the Web. Our novel
connected to the shopping                                  approach works with today’s clients and doesn’t let the merchants see
cart computer, the method                                  the client’s payment credentials.’ ” See SVN2-0040037 of SVN2-
comprising the steps of:                                   0040037-42 (emphasis added).
receiving, at the shopping
cart computer, a plurality                                 “Abstract
of shopping cart messages                                  A network-based sales system includes at least one buyer computer for
sent over the network to the                               operation by a user desiring to buy a product, at least one merchant
shopping cart computer by                                  computer, and at least one payment computer. The buyer computer, the
the buyer computer in                                      merchant computer, and the payment computer are interconnected by a
response to receipt of a                                   computer network. The buyer computer is programmed to receive a user
plurality of requests from a                               request for purchasing a product, and to cause a payment message to be
user to add a plurality of                                 sent to the payment computer that comprises a product identifier
respective products to a                                   identifying the product. The payment computer is programmed to
shopping cart in the                                       receive the payment message, to cause an access message to be
shopping cart database, each                               created that comprises the product identifier and an access message
of the shopping cart                                       authenticator based on a cryptographic key, and to cause the access
messages comprising a                                      message to be sent to the merchant computer. The merchant computer
product identifier                                         is programmed to receive the access message, to verify the access
identifying one of the                                     message authenticator to ensure that the access message authenticator
plurality of products; and                                 was created using the cryptographic key, and to cause the product to be
modifying the shopping cart                                sent to the user desiring to buy the product.” The ‘314 Patent (emphasis
in the shopping cart                                       added.)
database to reflect the
plurality of requests to add                               “U.S. patent application Ser. No. 08/168,519, filed Dec. 16, 1993 by David K.
the plurality of products to                               Gifford and entitled "Digital Active Advertising," the entire disclosure of which
the shopping cart;                                         is hereby incorporated herein in its entirety by reference, now abandoned,
the buyer computer being                                   describes a network sales system that includes a plurality of buyer computers, a
                                                           plurality of merchant computers, and a payment computer. A user at a buyer
programmed to receive a
                                                           computer asks to have advertisements displayed, and the buyer computer
request from the user to


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purchase the plurality of                                  requests advertisements from a merchant computer, which sends the
products added to the                                      advertisements to the buyer computer. The user then requests purchase of
shopping cart and to cause a                               an advertised product, and the buyer computer sends a purchase message
payment message to be                                      to the merchant computer. The merchant computer constructs a payment
activated to initiate a                                    order that it sends to the payment computer, which authorizes the
                                                           purchase and sends an authorization message to the merchant computer.
payment transaction for the
                                                           When the merchant computer receives the authorization message it sends
plurality of products added                                the product to the buyer computer.
to the shopping cart;
the shopping cart being a                                  The above-mentioned patent application also describes an alternative
stored representation of a                                 implementation of the network sales system in which, when the user
collection of products, the                                requests purchase of an advertised product, the buyer computer sends a
shopping cart database                                     payment order directly to the payment computer, which sends an
being a database of stored                                 authorization message back to the buyer computer that includes an
representations of                                         unforgeable certificate that the payment order is valid. The buyer computer then
collections of products, and                               constructs a purchase message that includes the unforgeable certificate and
                                                           sends it to the merchant computer. When the merchant computer receives the
the shopping cart
                                                           purchase request it sends the product to the buyer computer, based upon the
computer being a computer
                                                           pre-authorized payment order.” The ‘314 Patent at 1:18-47 (emphasis added.)
that modifies the stored
representations of                                         “The invention provides a simple design architecture for the network sales
collections of products in                                 system that allows the merchant computer to respond to payment orders
the database.                                              from the buyer computer without the merchant computer having to
                                                           communicate directly with the payment computer to ensure that the user is
                                                           authorized to purchase the product and without the merchant computer
                                                           having to store information in a database regarding which buyers are
                                                           authorized to purchase which products. Rather, when the merchant computer
                                                           receives an access message from the buyer computer identifying a product to be
                                                           purchased, the merchant computer need only check the access message to
                                                           ensure that it was created by the payment computer (thereby establishing for the
                                                           merchant computer that the buyer is authorized to purchase the product), and
                                                           then the merchant computer can cause the product to be sent to the buyer
                                                           computer who has been authorized to purchase the product.” The ‘314 Patent at
                                                           2: 3-18 (emphasis added.)


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                                                           “Brief Description of the Drawings
                                                           FIG. 1 is a block diagram of a network sales system in accordance with the
                                                           present invention.
                                                           FIG. 2 (2-A through 2-I) is a flowchart diagram illustrating the operation of a
                                                           purchase transaction in the network sales system of FIG. 1.
                                                           FIG. 3 (3-A through 3-B) is a flowchart diagram illustrating the use of a
                                                           shopping cart for the purchase of products in connection with the network
                                                           sales system of FIG. 1.
                                                           FIG. 4 (4-A through 4-C) is a flowchart diagram illustrating the operation of a
                                                           smart statement in the network sales system of FIG. 1.” The ‘314 Patent at
                                                           3:58-4:3 (emphasis added.)

                                                           “The payment URL authenticator is a hash of other information in the payment
                                                           URL, the hash being defined by a key shared by the merchant and the
                                                           operator of the payment computer.” The ‘314 Patent at 5: 45-47 (emphasis
                                                           added.)

                                                           “Payment computer 16 has access to a settlement database 22 in which payment
                                                           computer 16 can record details of purchase transactions. The products may be
                                                           organized into various ‘domains’ of products, and payment computer 16 can
                                                           access settlement database 22 to record and retrieve records of purchases of
                                                           products falling within the various domains. Payment computer 16 also has
                                                           access to a shopping cart database 21 in which a ‘shopping cart’ of
                                                           products that a user wishes to purchase can be maintained as the user shops
                                                           prior to actual purchase of the contents of the shopping cart.” The ‘314 Patent at
                                                           5:5-15 (emphasis added.)

                                                           “The user browses through the advertising document and eventually requests a
                                                           product (step 32). This results in the buyer computer sending payment URL A
                                                           to the payment computer (step 34). Payment URL A includes … a merchant
                                                           computer identifier that represents merchant computer 14, a merchant
                                                           account identifier that represents the particular merchant account to be credited




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                                                           with the payment amount, …. The payment URL authenticator is a hash of
                                                           other information in the payment URL, the hash being defined by a key shared
                                                           by the merchant and the operator of the payment computer.” The ‘314
                                                           Patent at 5: 26-47 (emphasis added.)

                                                           “In an alternative embodiment, step 34 consists of the buyer computer sending a
                                                           purchase product message to the merchant computer, and the merchant
                                                           computer provides payment VRL[URL] A to the buyer computer in response to
                                                           the purchase product message. In this alternative embodiment, payment URL A
                                                           contains the same contents as above. The buyer computer then sends the
                                                           payment URL A it has received from the merchant computer to the payment
                                                           computer.” The ‘314 Patent at 5: 48-56 (emphasis added.)

                                                            “… the payment computer creates an access URL (step 80) that includes a
                                                           merchant computer identifier ….” The ‘314 Patent at 7:19-20 (emphasis
                                                           added.)

                                                            “The payment computer then sends a redirect to access URL to the buyer
                                                           computer (step 90), which sends the access URL to the merchant computer
                                                           (step 92).” The ‘314 Patent at 7: 31-33 (emphasis added.)

                                                           “With reference now to FIG. 3, when the merchant computer sends the
                                                           advertising document to the buyer computer, the user may request that a
                                                           product be added to a shopping cart in the shopping cart database rather than
                                                           request that the product be purchased immediately. The buyer computer sends a
                                                           shopping cart URL to the payment computer (step 108), the shopping cart
                                                           URL including … a merchant computer identifier …” The ‘314 Patent at 7:
                                                           55- 8:2 (emphasis added.)

                                                           “The user then either requests more advertisements (step 24 in FIG. 2) [user
                                                           requests advertisements from the merchant computer] and possibly adds another
                                                           product to the shopping cart, requests display of the shopping cart (step 116), or
                                                           requests purchase of the entire contents of the shopping cart (step 124). If the
                                                           user requests display of the shopping cart (step 116), the buyer computer


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                                                           sends a fetch shopping cart request to the payment computer (step 118),
                                                           and the payment computer and buyer computer (step 119) perform steps
                                                           analogous to steps 64-81. The payment computer returns the contents of the
                                                           shopping cart to the buyer computer (step 120), which displays the contents
                                                           of the shopping cart (step 122). If the user requests that the entire contents of
                                                           the shopping cart be purchased (step 124) the buyer computer causes the
                                                           payment URL for the shopping cart to be activated (step 126) …” The ‘314
                                                           Patent at 8: 14-28 (emphasis added.)

                                                           “ … the payment URL is processed in a manner analogous to the processing
                                                           of payment URLs for individual products (beginning with step 36 in FIG. 2)”
                                                           The ‘314 Patent at 8: 28-32 (emphasis added.)

                                                           “Merchant Account
                                                           Each merchant has an entry in the principal table in the payment
                                                           database. …This information is revealed to customers in the appropriate
                                                           setting. …
                                                           The secretkey table
                                                           … Three parties need to know a merchant’s keys. The merchant must
                                                           know, in order to sign payment URLs. The payment system must know,
                                                           in order to validate payment URLs and to sign access URLs, and the
                                                           merchant server must know, in order to validate access URLs. (n,b,
                                                           There is no particular reason to use the same keys for payment and
                                                           for access. …
                                                           The merchantserver table
                                                           In an environment where there are multiple merchant servers, the
                                                           merchant server table tells the payment system which servers are hosting
                                                           a particular merchant. …
                                                           In order for the payment system to work, the following steps must be
                                                           accomplished:
                                                                Create principal account for merchant
                                                                Create keys for merchant


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                                                               Load merchant server with merchant keys
                                                               Use merchant’s keys to generate payment URLs” App. E of the
                                                           ‘314 Patent, SOV 000146-148 (emphasis added.)

                                                           “OM Vision,” See SOV1627 of SOV1624-36

                                                           ”The basic idea is to have-pay-per-page links in the merchant’s database that
                                                           point to our payment system and encode payment details (these are called
                                                           payment URLs). Our payment system processes the payment order, and
                                                           returns an HTTP redirect to deflect the client to the real URL on the
                                                           merchant’s server. The redirect URL is called the access URL. The effect for
                                                           the user is a seamless link from one merchant page to another merchant page.”
                                                           See SOV1721 of SOV1719-39 (emphasis added.)

                                                           “ To be successful in creating an electronic marketplace the payment
                                                           system must address the following needs
                                                           -It must be designed to work in open and untrusted networks. Currently
                                                           systems require a prior relationship between the merchant and the
                                                           prospective customer. To establish a broad market the payment system
                                                           must enable any user to freely choose any merchant in the same way as
                                                           he or she would shop in a traditional marketplace. The cost of
                                                           establishing a buyer’s payment credentials must be reduced
                                                           sufficiently to permit individual transactions between unaffiliated
                                                           parties to occur efficiently. … Open market’s payment system is the
                                                           only existing system hat meets all these requirements. The architecture
                                                           permits unaffiliated merchants to accept payment from any buyer
                                                           using any means of payment that is acceptable to both parties.” See
                                                           SOV1749-1750 of SOV1740-86 (emphasis added.)

                                                           “no direct communication … p.a. … merchant talks with payment …
                                                           a necessitated special connections between … clearly partitioning



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                                                           problem … allows us to use existing widely available software …” See
                                                           SOV1835 of SOV1835-39 (emphasis added.)

                                                           “2. How do orders get placed at the merchant in a reliable way:
                                                           Right now, “hard goods” which require orders to be transmitted to
                                                           the merchant are handled by the shopping cart mechanism. When a
                                                           shopping cart is purchased, a database field associated with the cart
                                                           transitions from state o to state 1, which means the total amount has been
                                                           recorded in the payment system. Some as yet unnamed mechanism is
                                                           supposed to move the field from state 1 to state 2 (order entered)
                                                           when the order has made it to the merchant.” See SOV1848 of
                                                           SOV1848-1849 and SOV39754 of SVN2-0039753-55
                                                           (emphasis added.)

                                                           See also “Payment System Componets,” SVN2-0039770-76.




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